      Case 23-57114-jrs         Doc 39 Filed 01/17/24 Entered 01/17/24 10:33:46                   Desc Ntc.
                                  Resetting 341 mtg CH. 7 Page 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Northern District of Georgia
                                        Atlanta Division

In    Debtor(s)
Re:   Richard John Reynolds IV                  Case No.: 23−57114−jrs
      380 Whitmore Drive NW                     Chapter: 7
      Atlanta, GA 30305                         Judge: James R. Sacca

      xxx−xx−0938




      NOTICE REGARDING RESCHEDULING OF MEETING OF
              CREDITORS OF CHAPTER 7 DEBTOR

      Debtor did not appear at the previously scheduled Section 341 Meeting of Creditors. The Meeting of
Creditors has been rescheduled to:

    1/31/24 at 02:00 PM
    Zoom video meeting. Go to Zoom.us/join, Enter Meeting ID 627 912 5502, and Passcode
6497361809, OR call 1 (470) 924−8876.

      In accordance with 11 U.S.C. § 343 of the Bankruptcy Code, debtor must appear at the Meeting of
Creditors and submit to examination under oath. If debtor fails to appear at the rescheduled Meeting of
Creditors , the case may be dismissed without further notice or hearing, in accordance with General Order
No. 2 as entered by this Court on October 5, 2005.




Dated: January 18, 2024




                                                Vania S. Allen
                                                Clerk of Court




Form 424
